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December 20, 2024

By ECF
The Honorable Judge Netburn, U.S.M.J.
United States District Court
Southern District of New York
40 Foley Square, Room 2201
New York, NY 10007

Re:       Norris v. Goldner, et al., 19-cv-5491 (PAE)(SN)

Dear Judge Netburn:

Our firm represents the defendants in the above-referenced action. Pursuant to the Court’s Order
(ECF No. 220), we write jointly with counsel for the plaintiff to report a Christmas miracle: the
parties have settled both the above-referenced action and Case No. 23-cv-4078 (PAE)(SN), and
have signed a full agreement to that effect. Per the terms of their agreement, the stipulations of
dismissal will be filed within 21 days of yesterday, although the parties have indicated a goal of
filing them sooner.

We thank the Court for its time and attention to these two matters before it.

Respectfully submitted,



Eleanor M. Lackman



cc: All counsel of record in 2019 and 2023 cases (via ECF)




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